Case 2:12-cv-00344-GAF-JEM Document 291 Filed 04/18/14 Page 1 of 1 Page ID #:14784

                                                                                               LINK:
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.        CV 12-344 GAF (JEMx)                                  Date   April 18, 2014
 Title           Bretta Pollara v. Radiant Logistics, Inc.;
                 Radiant Logistics, et al. v. Bretta Pollara, et al.



 Present: The Honorable                     GARY ALLEN FEESS
         Stephen Montes Kerr                             None                             N/A
             Deputy Clerk                       Court Reporter / Recorder               Tape No.
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None                                                 None


 Proceedings:             (In Chambers)

                          ORDER RE: FURTHER MOTION PRACTICE

        The Court has received numerous motions from the parties, all of which are essentially
motions in limine that were filed after the Court ordered that no further motions were to be filed
in this Court. The Court has addressed or is in the process of addressing those motions, but will
not address any further pre-trial motions. If the parties attempt to file further motions (any
motion after Docket No. 284), the Court will strike the motion and will not consider it.

       Accordingly, the Court suggests that the parties use the weekend to prepare for trial and
not for the purpose of submitting motions that the Court will not consider.

         IT IS SO ORDERED.




CV-90 (06/04)                              CIVIL MINUTES - GENERAL                             Page 1 of 1
